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  5   Attorneys for Plaintiff
      JAMES RUTHERFORD
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  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
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10
           JAMES RUTHERFORD, an             Case No.: 5:20-cv-01510-GW-SHK
11         individual,
12                                          Hon. George H. Wu
           Plaintiff,
13                                          NOTICE OF VOLUNTARY
14         v.                               DISMISSAL WITH PREJUDICE
                                            PURSUANT TO FEDERAL RULE OF
15         THE CVRC COMPANY LLC,            CIVIL PROCEDURE 41(a)(1)(A)(i)
16         a Delaware limited liability
           company; and DOES 1-10,          Complaint Filed: July 28, 2020
17         inclusive,                       Trial Date: None
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           Defendants.
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                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  3   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
  4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
  5   Each party shall bear his or its own costs and attorneys’ expenses.
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  7                                          Respectfully submitted,
  8
  9    DATED : October 6, 2020               MANNING LAW, APC

10                                           By: /s/ Joseph R. Manning, Jr.
                                               Joseph R. Manning, Jr.
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                                               Attorney for Plaintiff
12                                             James Rutherford
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